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                   UNITED STATES BANKRUPTCY COURT

                                DISTRICT OF IDAHO


 IN RE:
                                               CASE NO. 20-00833-NGH
 TAMIO LUCIEN
 STEHRENBERGER and ANNA
 CHRISTINE STEHRENBERGER,
                                               CHAPTER 7
       Debtors.

                                         ORDER


      Based on the Court’s oral ruling entered this date, and good cause appearing,

IT IS HEREBY ORDERED that:

      (1) Creditor Michiko Stehrenberger’s Motion to Extend December 14, 2020

          Deadline to file 727 Objection to Discharge and/or 523 Adversary Complaint

          or Other Requests for Relief, Doc. No. 35, is GRANTED; and

      (2) Creditor Michiko Stehrenberger shall have ninety (90) days from December

          14, 2020, to take action consistent with this order.

DATED: December 21, 2020

                                          _________________________
                                          NOAH G. HILLEN
                                          U.S. Bankruptcy Judge




ORDER - 1
